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Sun Chenyan,

The Partnerships and Unincorporated

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

Civil Action No. 1:20-cv-00220

District Judge John F. Kness

Associations Identified in Magistrate Judge M. David Weisman

Schedule “A”,

 

Defendants.

DECLARATION OF ZHINA CHEN

The undersigned, Zhina Chen, after being sworn, states as follows:

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All testimony given in this affidavit is based on my own personal knowledge, and
if called at trial, | would testify as | have stated herein.

My name is Zhina Chen.

| am a citizen of China and reside in the county Wuhua County, Guangdong
Province, China.

lam the owner and operator of the Wish stores Savernotoer, longtimenosee123,
WTFtrump, huahuasmile, fashionaccessary shop, zhouzhou666, boluoboluomi,
dannismile, waitforyou2017, yanchunsmile, and iseeyou66 (“Wish Stores”).

On June 2, 2020, | hired Guang Dong Han Cheng Law Firm in the city of
ShenZhen City, China to represent my stores against the charges made by
Plaintiff in this case.

Guang Dong Han Cheng Law Firm then notified me that they had hired The Law

Offices of Konrad Sherinian, LLC to represent my stores in this case.

 

 

 
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7. | have been dealing with The Law Offices of Konrad Sherinian, LLC since June 2,
2020.
8. The Law Offices of Konrad Sherinian, LLC has been representing my stores in

this action with my authority.

| declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct, except as to matters stated to be on information

and belief and as to such matters the under-signed certifies as aforesaid that she verily

believes the same to be tru

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202 |. |. Y Zhina (her
Executed On Zhina Chen

 
